Case 1:21-cv-02637-RM-KMT Document 15-10 Filed 10/12/21 USDC Colorado Page 1 of 3


                                                                                             EXHIBIT
                   DECLARATION OF MATTHEW K. WYNIA, MD, MPH, FACP                                   J
 I, Matthew K. Wynia, state as follows:

    1. I am a Professor at the University of Colorado School of Medicine and Colorado School of

        Public Health. I serve as the Director of the Center for Bioethics and Humanities at the

        University of Colorado.

    2. The Center for Bioethics and Humanities serves as a resource for clinical and organizational

        ethics, a forum for public learning and deliberation, and a catalyst for improving health and

        health care in Colorado and the United States.

    3. I hold a Doctor of Medicine degree from Oregon Health Sciences University, School of

        Medicine and a Masters of Public Health from Harvard University School of Public Health,

        Department of Health Policy and Management. I am board-certified in both Internal Medicine

        and Infectious Diseases by the American Board of Internal Medicine.

    4. I have served on the Board of Directors and as President of the American Society for

        Bioethics and Humanities and on the Ethics and Professionalism Committee of the American

        Board of Medical Specialties, and for over 10 years I led the Institute for Ethics of the

        American Medical Association.

    5. I am familiar with religious concepts in bioethics, including Catholic bioethics.

    6. There has been a debate in Catholic bioethics at least for the past 20 years as to whether

        vaccines developed or tested using fetal cell lines are morally acceptable.

    7. The Vatican’s doctrinal office, the Congregation for the Doctrine of Faith (CDF), has

        determined that it is “morally acceptable” for Catholics to take the vaccines against COVID-

        19. In fact, the Pope himself said it would be “suicide”—a sin in Catholicism—not to get the

        vaccine.



                                                    1
Case 1:21-cv-02637-RM-KMT Document 15-10 Filed 10/12/21 USDC Colorado Page 2 of 3




    8. As physicians, we have confronted religious, ethical and moral dilemmas regarding the use in

       modern medicine of information obtained from research conducted in a less than ethical

       manner, up to and including debates on using information from egregiously unethical research

       such as from Nazi experiments or from the US Public Health Service Study at Tuskegee (the

       infamous “Tuskegee Syphilis Study”). See https://www.ama-assn.org/delivering-

       care/ethics/release-data-unethical-experiments.

    9. In light of the very widespread prior use of fetal cells in developing and testing many modern

       therapeutic agents, it is my professional opinion that a physician who has an unsurmountable

       problem with using or prescribing all vaccines and drugs potentially developed or tested using

       fetal cell lines cannot effectively practice modern medicine.

    10. A core concept of health ethics is to serve the best interests of our patients and not our own

       self interests.

    11. “First, do no harm” is one way in which the professional obligation to prioritize the interest

       of our patients has been expressed.

    12. As a specialist in infectious diseases and public health, it is my opinion that the evidence is

       clear that vaccination of health care providers combined with appropriate use of PPE is the

       most effective way for us to protect our patients (and ourselves) from COVID-19. Both steps

       are recommended by experts in respiratory viral control and are especially important when

       caring for patients who are at higher risk of contracting COVID or having worse outcomes,

       including children not yet eligible for vaccination and those with immune compromising or

       other comorbid conditions.




                                                    2
Case 1:21-cv-02637-RM-KMT Document 15-10 Filed 10/12/21 USDC Colorado Page 3 of 3




    13. It is my opinion, as a bioethicist with a career-long focus on medical professional ethics, that

        it is our duty, as physicians, to receive the vaccine, absent a medical contraindication such as

        prior anaphylactic shock to the vaccine or one of its ingredients.

    14. As an infectious disease specialist, it is my opinion that universal vaccination is the only safe

        and effective method for halting widespread community transmission and reducing the

        concomitant risk of further virus mutations. Seeking to achieve “herd immunity” by allowing

        individuals in the community to acquire immunity through getting sick is exceedingly

        dangerous and deadly, as demonstrated by the number of deaths experienced in the United

        States alone over the past 19 months.

 I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true and

 correct.



        Executed this __12th_____ day of October, 2021.
                                                   _______________________________
                                                   Matthew K. Wynia, MD, MPH, FACP




                                                    3
